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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
REGIONS BANK, etc.,

             Plaintiff,

v.        CASE NO. 8:12-CV-1837-T-17MAP

MARVIN I. KAPLAN, etc.,
et al.,

             Defendants.


MARVIN I. KAPLAN, etc.,

             Counterclaim/
             Crossclaim Plaintiffs,

v.

ROBERT NICHOLAS SHAW, et
al.,

             Crossclaim Defendants.

                                       /



                                           ORDER

       Dkt. 273   Motion for Final Default Judgment Against G. Todd
                  Smith, Gary T. Smith, Lucy B. Smith and Smith
                  Advertising & Associates, Inc.

      Crossclaimants Marvin I. Kaplan, R1A Palms, LLC, Triple Net Exchange, LLC,
MK Investing, LLC and BNK Smith, LLC (“Crossclaimants”) move for a Final Default
Judgment against G. Todd Smith, Gary T. Smith, Lucy B. Smith and Smith Advertising
& Associates, Inc. as to liability and entitlement to damages, with a reservation as to the
amount of damages, on the Amended Counterclaim and Crossclaim (Dkt. 93).
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       The Amended Counterclaim and Crossclaim includes the following claims as to
 G. Todd Smith, Gary T. Smith, Lucy B. Smith, and Smith Advertising & Associates, Inc.:


       Count I      Fraud                        G. Todd Smith, Smith Advertising
                                                 & Associates, Inc.

       Count II     Conspiracy to                G. Todd Smith, Gary T. Smith, Lucy B.
                    Defraud                      Smith, Smith Advertising & Associates,
                                                 Inc.

       Count III    Negligent                    G. Todd Smith and Smith Advertising &
                    Misrepresentation            Associates, Inc.


       Count IV     Violation of 18 USC          G. Todd Smith, Gary T. Smith, Lucy
                    Sec. 1962(c) and Sec.        B. Smith, Smith Advertising Associates,
                    1964                         Inc.

       Count V      Violation of 18 USC Sec.     G. Todd Smith, Gary T. Smith, Lucy
                    1962(d) and Sec. 1964        B. Smith, and Smith Advertising &
                                                 Associates, Inc.

       Count VI     Violation of Secs.           G. Todd Smith, Gary T. Smith, Lucy
                    772.103(3), 772.104,         B. Smith, Smith Advertising &
                    Fla. Stat.                   Associates, Inc.

       Count VII    Violation of Secs.           G. Todd Smith, Gary T. Smith, Lucy
                    772.103(4), 772.104,         B. Smith, Smith Advertising &
                    Fla. Stat.                   Associates, Inc.

       Count VIII    Violation of Sec. 772.11,   G. Todd Smith, Gary T. Smith, Lucy
                     Fla. Stat.                  B. Smith, Smith Advertising &
                                                 Associates, Inc.

       Count IX      Conversion                  G. Todd Smith, Gary T. Smith, Lucy B.
                                                 Smith and Smith Advertising &
                                                 Associates, Inc.

       Count X       Violation of Sec. 501.201 G. Todd Smith, Gary T. Smith, Lucy B.
                     et sea.. Fla. Stat..      Smith, Smith Advertising & Associates,
                     FDUTPA                    Inc.

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       Count XI      Violation of Sec. 68.065,   Smith Advertising & Associates, Inc.
                     Fla. Stat.

       Count XII     Breach of Contract          Smith Advertising & Associates, Inc.,
                                                 G. Todd Smith, Gary T. Smith




       Crossclaim Defendants G. Todd Smith, Gary T. Smith, Lucy B. Smith and Smith
 Advertising & Associates, Inc. have been served. (Dkts. 137,168). A Clerk’s Default
 has been entered as to all Crossclaim Defendants (Dkts. 139,169,170,171).


       A defendant, by his default, admits a plaintiffs well-pleaded allegations of fact, is
 concluded on those facts by the judgment, and is barred from contesting on appeal the
 facts thus established. Eaale H osd. Physicians. LLC v. SRG Consulting. Inc.. 561 F.3d
 1298,1308 (11th Cir. 2009). Under Florida law, a defendant still has the right to contest
 unliquidated damages, but no other issue, once a default has been entered against
 him. Banks v. SFRC Medical Dept. Officials. 2011 WL 900544 (S.D. Fla. 2011).


       After consideration, the Court grants Crossclaimants’ Motion for Final Default
 Judgment as to liability, and entitlement to damages; the Court reserves jurisdiction to
 determine the amount of damages. Accordingly, it is


       ORDERED that Crossclaimants’ Motion for Final Default Judgment (Dkt. 273) is
 granted. The Clerk of Court shall enter a Final Default Judgment as to liability and
 entitlement to damages in favor of Crossclaimants Marvin I. Kaplan, R1A Palms, LLC,
 Triple Net Exchange, LLC, MK Investing, LLC and BNK Smith, LLC and against
 Crossclaim Defendants G. Todd Smith, Gary T. Smith, Lucy B. Smith, and Smith
 Advertising & Associates, Inc. on the above counts of the Amended Counterclaim and
 Crossclaim (Dkt. 93). The Court reserves jurisdiction for determination of the amount


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 of damages.


       DONE and ORDERED in Chambers in Tampa, Florida on thi      'ay of
 March, 2015.




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